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IN THE UNITED STATES DlsTRlCT COURT ap
FOR THE WESTERN DISTRICT 0F TENNESSEE J(/L f
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TERRETTA WEBB, "" decks;
Plaimifr,
vs. No.: 1-04-1288-T/An

STANLEY JONES REALTY, INC.,

Defendant.

 

STIPULATED PROTECTIVE ()RDER

 

IT APPEARING that a protective order is appropriate to facilitate the production ot`
information and documents in this litigation;

IT IS ORDERED AND DECREED that, pursuant to the stipulation of the parties
through their undersigned counsel of record, and any third parties who, by signing a copy of
form of the agreement attached hereto, agree to be bound thereby, that the following protections
be adopted for purposes ot` discovery in this action;

a. The term “Discovery Materials” means all depositions, transcripts and exhibits,
written discovery responses, documents made available or generated during discovery, including
information and other materials produced by a Producing Party in connection with this action.

b. The term “Contidential Materials" means all Discovery Materials which a
Producing Party reasonably believes are eligible for protection under Fed. R. Civ. P 26(0)(7).
All Confldential Materials shall be marked with the term “CONFIDENTIAL” prior to their

production by a Producing Party.

Thts document entered on the docket sheet ln oompllance

with nme 53 and'or rs (a) FacP on M___ @

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c. Pl"he term “‘Prodncing Party” means any person or entity Who has agreed to be
bound by this Order and who produces any Contidential Materials in connection with this action.

d. The term “Qualijied Person” includes those parties, attorneys, legal assistants,
clerical and secretarial personnel, consultants, expert witnesses, shareholders, and present or
former employees of any Receiving Person whose employment assignments entail, in whole or
in part, responsibility for this action and those court personnel and court reporters directly
involved in this action (“Court Personnel”).

e. The term “Receiving Person” means any person or entity who has agreed to be
bound by this Order and who receives any Conlidential Materials in connection with this action.

t`. The term “Under Seal” shall mean filed in a sealed envelope with the Clerk of the
Court containing the notation set forth in paragraph J of this Order.

g. Confidential Materials are to be disclosed only to Qualified Persons. Contidential
l\/laterials shall be maintained in a manner reasonably designed to avoid any disclosure which is
contrary to this Order, and shall not be disclosed to any individuals other than Qualitied Persons,
except as permitted by this Order or further order of the Court.

h. Contidential Materials may not be used for any purpose other than this action.
Cont`ldential l\/laterials may not be used for purposes of any other action or for any business or
other purposel Receiving Persons shall not make copies of Cont`idential Materials, except for
purposes of this action_

i. Receiving Person(s) shall not receive or use Contidential Materials unless and
until each such individual has agreed in writing to be bound by this Order. Such written

agreement shall be in the form attached hereto. Each Receiving Person is responsible t`or

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obtaining and maintaining the signed agreements from each individual who receives or uses any
of the Contidential Materials.

j. lf a party desires to offer into evidence any discovery materials that have been
designated as confidential, such party must provide the opposing party with at least three (3)
business days advance notice. Counsel for the opposing party may move the Court for an order
that the evidence be received in camera or under other conditions to prevent unnecessary
disclosure The documents shall continue to be treated in accordance with the provisions of this
Order until the opposing party’s motion is ruled upon.

k. Whether or not such document is filed Under Seal, it shall bear on the cover only
the notation “CONFIDENTIAL” on any document containing Confidential Materials. The
parties may use Confidential Materials at depositions in this action. If the deponent or the
attorney for the deponent is not subject to this Order, the deponent and/or his/her/its attorney
shall be provided a copy of this Order and shall be requested to agree in writing to be bound by
the Order, using the form attached hereto.

l. In the event that Confidential Materials are used in a deposition, the party
asserting such confidentiality shall indicate the confidential nature of the particular information
comprising the Confidential Materials at the time of the deposition or within 10 days after the
transcript is prepared The court reporter shall make reasonable efforts to segregate and bind
separately any such confidential portions of transcript which portion shall bear the following

notation on the face of the envelope only:

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RESTRICTED
THIS DEPOSITION TRANSCRIPT CONTAINS CONFIDENTIAL
INFORMATION SUBJECT TO A PROTECTIVE ORDER IN
“CONFIDENTIAL” LABELED PORTIONS ()F THIS
TRANSCRIPT AND ANY ATTACHEI) DOCUMENTS MARKEI)
“CONFIDENTIAL” MAY NOT BE DISCLOSED TO ANY PERSON
OTHER THAN QUALIFIED PERSONS, AS SE'I` FORTH IN
THE PROTECTIVE ORDER

 

m. This Order shall not apply to any documents or materials which are available
through the public domain. Documents and materials available through the public domain
include those documents or materials which may be obtained through the media, unrestricted
government records, or other public records or files. This Order shall not apply to any documents
or materials obtained from some source other than the Producing Party and shall not apply to any
documents already possessed by a Receiving Person at the time the documents or materials are
provided

n. Any party may apply to this Court for relief from the terms of the Order with
respect to any particuiar documents or information Nothing in this Order prevents any parties in
applying to the Court for a change or modification of any or all parts of this Order.

o. This Order is without prejudice to the rights of any party to seek such further or
lesser protection as may be appropriate Such further or lesser protection as may be necessary to
govern the disclosure and use of Discovery Materials and information covered by this Order at
trial may be addressed by a separate order signed by the Court at anytime.

p. At the conclusion of this action, including any appeals and writs_, counsel of
record for the parties shall keep any Conlidenlial l\/laterials in a matter consistent with this Order.

All Receiving Persons who are experts, consultants, witnesses, or other persons or entities other

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than counsel of record for the parties in this action shall, at the option of the Producing Party,
return all Confidential Materials to such Producing Party or destroy such Confidential l\/Iaterials
and confirm such destruction to the Producing Party provided any Confidential Materials bearing
notations or other marginalia of a Receiving Person may be destroyed and not returned at the
option of the Receiving Person.

q. This Order is entered for the purpose of facilitating the exchange of information
among the parties and non-parties to this litigation The parties’ agreement to be bound by the
terms of this Order shall not be deemed to constitute an admission or waiver, including waiver
under the rules of evidence, by anyone. Nothing in this Order shall be construed to alter the
confidentiality or non-confidentiality of any Discovery Materials.

r. This Stipulated Protective Order shall not constitute a waiver of any party’s or
non-party’s right to oppose any discovery request as provided under Tennessee and Federal Law.

s. Counsel for the parties may agree in writing to any specific disclosure of the
Confidential Inforrnation in a particular circumstance without prejudice to the continued
application to this Order as to the use of that document or thing.

t. No disclosure of Confidential Information whether intentional or inadvertent shall
be deemed to waive any of the rights provided herein. Disclosure of Confidential information for
one purpose does not constitute a waiver for any other purpose

u. The intentional disclosure of documents which are marked “privileged and
confidential” or “attorney-client” or “work product” does not constitute a waiver of any
applicable privileges to any other related privileged documents or other privileged documents lt
is expressly understood by the parties that regardless of a "‘privileged” notation on the document,

a determination must still be made as to whether a document is actually subject to any privileges

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for purposes of the litigation This agreement recognizes the fact that a party should not be

punished for conducting that analysis by the requirement of a waiver of privilege as to any

related documents

v. This Order shall survive the termination of this action and the Court shall retain

jurisdiction to enforce or modify it;;`erms.

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STIPULATION BY THE PARTIES
By the signatures of their counsel of record, below, each of the parties to this action

hereby agrees to be bound by the terms of this Protective Order.

Dated; `yF , t g jL, 2005

 

APPROVED BYZ
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Stephen i-l. Biller, Esq. n \/"""`" §
Arrorneyfor Plaintijjf

Mark Stamelos, Esq.
Atz.‘omeyfr)r D€_kndant

 

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TERRETTA WEBB V. STANLEY JONES REALTY, lNC.
CIVIL ACTI()N NO. 1-04-1288

l hereby acknowledge that I, [name], [position of employment], am about to receive confidential
information supplied in connection with the litigation styled: TERRETTA WEBB V.
STANLEY JONES REALTY.. INC. CIVIL ACTION NO. 1-04-128. By my signature below, l
certify my understanding that such information is provided to me pursuant to the terms and
restrictions of the Court’s ‘“Protective Order,” entered in this action on [date], and that l have
been given a copy of and have read the Protective Order and agreed to be bound by its terms. l
understand that such information and copies that I make of any Confidential Materials, as
defined in the Protective Order, or any notes or other records that may be made regarding any
such matter, shall not be used or disclosed to any persons except as permitted in the Protective
Order.

Dated:

 

By:
Name:
Titie:
Address:
'l`elephone:
Fax Number:

 

 

 

 

 

 

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CERTIFICATE OF SERVICE
I certify that a true and correct copy of the Stipulated Protective Order has been mailed,
by placing in the U.S. Mail, postage paid, to Stephen H. Biller, Esq., The Bogatin Law Firm
1611 lntemational Place Drive, Suite 300, Memphis, TN 38120 on this the _L(_ day of July

2005.

 

.- j
Mark E. Stamelos

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Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case l:04-CV-01288 was distributed by fax, mail, or direct printing on
July 18, 2005 to the parties listed.

 

 

Stephen H. Biller

THE BOGATIN LAW FIRM
1661 International Place Dr.
Ste. 300

l\/lemphis7 TN 38120

Mark E. Stamelos
KING & BALLOW

315 Union Street

l 100 Union Street Plaza
Nashville, TN 37201

Honorable J ames Todd
US DISTRICT COURT

